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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,               CR. NO. 2:11-101 WBS
13                Plaintiff,                 MEMORANDUM AND ORDER RE:
                                             MOTION FOR RECONSIDERATION
14       v.
15   NELSON MAURICIO PONCE VASQUEZ,
16                Defendant.
17

18                                ----oo0oo----

19             On April 11, 2014, the court granted defendant Nelson

20   Mauricio Ponce Vasquez’s motion to dismiss the Indictment based

21   on a violation of his Sixth Amendment right to a speedy trial.

22   The government now seeks reconsideration of that Order based on

23   new evidence and clear error of law.

24             “No precise ‘rule’ governs the district court’s

25   inherent power to grant or deny a motion to reconsider a prior

26   ruling in a criminal proceeding.”       United States v. Lopez-Cruz,

27   730 F.3d 803, 811 (9th Cir. 2013); see United States v. Healy,

28   376 U.S. 75, 78 (1964) (recognizing “the appropriateness of
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1    petitions for rehearing by the United States in criminal cases”).

2    In assessing motions for reconsideration in criminal cases, some

3    courts have relied on the standard that governs motions for

4    reconsideration under Federal Rule of Civil Procedure 59.         See,

5    e.g., United States v. Sims, 252 F. Supp. 2d 1255, 1261 (D.N.M.

6    2003); see also Sch. Dist. No. 1J, Multnomah Cnty. v. ACandS,

7    Inc., 5 F.3d 1255, 1263 (9th Cir. 1993) (“Reconsideration [under

8    Rule 59] is appropriate if the district court (1) is presented

9    with newly discovered evidence, (2) committed clear error or the

10   initial decision was manifestly unjust, or (3) if there is an

11   intervening change in controlling law.”); cf. Lopez-Cruz, 730

12   F.3d at 811 (discussing case in which the Ninth Circuit affirmed

13   “denial of a motion for reconsideration of a suppression order

14   because the new evidence ‘could readily have been presented at

15   the original hearing on the motion to suppress’ and because the

16   defendant offered no excuse for the failure to do so”).

17             Here, the government seeks reconsideration of the

18   court’s April 11, 2014 Order based on: (1) new evidence from co-

19   defendant Dionisio Robles Padilla’s plea colloquy; and (2) the

20   court’s alleged error of law in referring to the presumption of
21   innocence when assessing defendant’s claim of actual prejudice.

22       1.    New Evidence

23             On April 21, 2014, co-defendant Padilla pled guilty to

24   one count of distribution of methamphetamine.        During the plea

25   colloquy, the court asked Padilla whom he contacted to obtain the

26   methamphetamine and Padilla eventually said he called defendant
27   at a phone number defendant had left on a purchase order.         (Apr.

28   21, 2014 Tr. at 23:6-9.)     The government argues that this new
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1    evidence merits reconsideration of the court’s prior order

2    because Padilla’s testimony confirms that he contacted defendant

3    to order the methamphetamine and the destroyed Comcast phone

4    records would therefore only have incriminated defendant.

5              To provide defendant’s counsel with an opportunity to

6    cross-examine Padilla and present any evidence, the court set the

7    matter for an evidentiary hearing and ordered the government to

8    produce Padilla as a witness.      (Docket No. 132.)     Shortly before

9    the scheduled hearing, Padilla’s counsel filed a statement

10   indicating that Padilla intends to his assert his Fifth Amendment

11   right against self-incrimination and will not testify at the

12   hearing or trial.    (Docket No. 135.)     The court seriously doubts

13   that it may consider Padilla’s statements for purposes of this

14   motion because they were made outside the presence of defendant

15   and his counsel, see generally Crawford v. Washington, 541 U.S.

16   36, 50-62 (2004) (discussing the Confrontation Clause of the

17   Sixth Amendment), and would be inadmissible hearsay at trial, see

18   generally United States v. Duenas, 691 F.3d 1070, 1086-90 (9th

19   Cir. 2012) (discussing the former testimony exception in Federal

20   Rule of Evidence 804).
21             Nonetheless, assuming the court can consider Padilla’s

22   statement made during the plea colloquy in deciding this motion,1

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               The court is not aware of and neither party cited any
24   authority addressing whether the court can consider evidence that
     would be inadmissible at trial when deciding a motion to dismiss
25   the indictment based on a Sixth Amendment speedy trial violation.
26   Notwithstanding that the inquiry raised by a motion to suppress
     is distinct from the inquiry at issue here because a motion to
27   suppress addresses the admissibility of evidence, the government
     argues by analogy that the court can consider evidence that would
28   be inadmissible at trial because it can consider such
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1    the court would have to determine how much weight to give to that

2    statement.    In order to determine the weight to assign to any

3    evidence, the trier of fact must take into account a number of

4    factors.   See Ninth Circuit Model Criminal Jury Instruction No.

5    3.9 (instructing the jury that it “may believe everything a

6    witness says, or part of it, or none of it” and should make that

7    determination based on numerous factors, including “the

8    reasonableness of the witness’s testimony in light of all the

9    evidence”).    Such determinations are traditionally made through

10   the adversary process.    It is only with the benefit of cross-

11   examination and the defendant’s “‘opportunity to present his own

12   side of the case,’” that the adversary process is “‘trusted to

13   sort out the reliable from the unreliable evidence.’”         United

14   States v. Berry, 624 F.3d 1031, 1040 (9th Cir. 2010) (quoting

15   Barefoot v. Estelle, 463 U.S. 880, 899 (1983), superseded by

16   statute on other grounds, 28 U.S.C. § 2253(c)(2)).

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     inadmissible evidence when deciding a motion to suppress. See
19   United States v. Raddatz, 447 U.S. 667, 679 (1980) (“At a
     suppression hearing, the court may rely on hearsay and other
20   evidence, even though that evidence would not be admissible at
21   trial.” (citations omitted)); United States v. Hong, 433 Fed.
     App’x 541, 543 (9th Cir. 2011) (“[T]he concerns underlying the
22   rules of evidence are greatly reduced in the context of a
     suppression hearing before a judge, rather than a trial before a
23   jury.”). Although the court has serious doubts about the
     propriety of considering Padilla’s testimony from the plea
24   colloquy, it need not resolve the issue because it ultimately
25   finds that the testimony cannot be given any weight. See United
     States v. Matlock, 415 U.S. 164, 175 (explaining that, when the
26   court is considering evidence that would be inadmissible at trial
     for purposes of a pretrial motion, “the judge should receive the
27   evidence and give it such weight as his judgment and experience
     counsel”).
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1              Without the defendant being accorded the opportunity to

2    cross-examine Padilla or to present other evidence to contradict

3    or impeach his testimony, the court simply cannot assess the

4    truthfulness of Padilla’s testimony from the plea colloquy.       If

5    the court had to determine the weight to give to Padilla’s

6    testimony based only on the limited evidence before it, the court

7    would have to find such ex parte statement to lack sufficient

8    credibility to merit consideration here.2       Accordingly, the court

9    will deny the government’s motion for reconsideration based on

10   new evidence.

11        2.   Clear Error of Law

12             In its Order granting defendant’s motion to dismiss the

13   Indictment, the court stated:

14        Of course, if defendant is in fact guilty, it could be
15        argued that it is speculative to assume that he would

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               Not only did defendant lack the opportunity to cross-
     examine Padilla, but the court observed Padilla testify during
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     the plea colloquy and was not convinced that his testimony was
18   credible. For example, Padilla seemed to struggle with recalling
     defendant’s name, referring to him initially as “[t]he guy that
19   was here in court with me three weeks ago.” (Apr. 21, 2014 Tr.
     at 22:16-17.) It is also undisputed that defendant was not the
20   one who delivered the methamphetamine for the second controlled
     purchase on August 31, 2010, and the government was unable to
21
     identify the person who did. Given that at least one person who
22   has delivered methamphetamine to Padilla in August 2010 remains
     unknown, it is possible, if not likely, that the same individual
23   delivered the methamphetamine on August 18, 2010 and that Padilla
     is protecting that person. If Padilla testified at a hearing or
24   at trial, defendant’s counsel could of course cross-examine him
     on such issues and the court or jury would be able to determine
25   the appropriate weight to give his testimony. See Sedaghaty,
26   728 F.3d at 902 (“‘[T]he exposure of a witness’ motivation in
     testifying is a proper and important function of the
27   constitutionally protected right of cross-examination.’” (quoting
     Davis v. Alaska, 415 U.S. 308, 316–17 (1974) (alteration in
28   original))).
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1          benefit   from  identifying   that  telephone  number.
           Although defendant has presented evidence that his
2          cell phone did not receive a call from the (707)-line
           on the date in question, the number called could have
3
           belonged to someone else associated with him. But in
4          assessing the relevance of that information, the
           court, consistent with the presumption of innocence,
5          must assume the defendant is innocent.     Making that
           assumption, identifying the phone number Padilla
6          called would be of substantial value to defendant’s
           defense, because it would enable him to ultimately
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           show that he is not connected with the number or
8          person Padilla called to order the methamphetamine and
           thus that he did not deliver the drugs.
9

10   (Apr. 11, 2014 Order at 11:7-20.)       The government contends that

11   the presumption of innocence is relevant only at trial and cannot

12   be considered for purposes of a pretrial motion; therefore, it

13   argues, the court’s reliance on the presumption of innocence

14   constitutes clear error and merits reconsideration.

15             In Bell v. Wolfish, 441 U.S. 520 (1979), pretrial

16   detainees challenged the constitutionality of certain conditions

17   of confinement and the Supreme Court stated that the presumption

18   of innocence “has no application to a determination of the rights

19   of a pretrial detainee during confinement before his trial has

20   even begun.”   441 U.S. at 533.     The Court explained:

21
           The presumption of innocence is a doctrine that
22         allocates the burden of proof in criminal trials; it
           also may serve as an admonishment to the jury to judge
23         an accused’s guilt or innocence solely on the evidence
           adduced at trial and not on the basis of suspicions
24
           that may arise from the fact of his arrest,
25         indictment, or custody, or from other matters not
           introduced as proof at trial.
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27   Id.

28             One year before Bell, the Ninth Circuit specifically

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1    recognized the relevance of the presumption of innocence in the

2    context of the right to a speedy trial.       See Tucker v. Wolff, 581

3    F.2d 235, 237 (9th Cir. 1978) (“The right to a speedy trial is

4    the right of an accused, who is presumed to be innocent, not of a

5    convict.”); cf. Heiser v. Ryan, 15 F.3d 299, 305 (3d Cir. 1994)

6    (“[T]he presumption of innocence, which underlies the societal

7    concerns expressed in the Speedy Trial Clause, can no longer

8    apply once the defendant has been found, or pleads, guilty.”).

9    The parties have not cited and this court is not aware of a post-

10   Bell Ninth Circuit case addressing the application of the

11   presumption of innocence to a defendant’s motion to dismiss the

12   indictment based on a Sixth Amendment speedy trial violation.

13             Nonetheless, the Ninth Circuit has not interpreted Bell

14   as rendering the presumption of innocence irrelevant at every

15   stage of criminal proceedings prior to trial.        For example, in

16   United States v. Scott, 450 F.3d 863 (9th Cir. 2006), a defendant

17   successfully challenged the reasonableness of warrantless

18   searches as a condition of his pre-trial release.         In reaching

19   this conclusion, the Ninth Circuit distinguished “between someone

20   who has been convicted of a crime and someone who has been merely
21   accused of a crime but is still presumed innocent.”         Id. at 873.

22   The court further explained:

23       [T]he assumption that Scott was more likely to commit
24       crimes than other members of the public, without an
         individualized   determination  to   that  effect, is
25       contradicted by the presumption of innocence . . . .
         Defendant is, after all, constitutionally presumed to
26       be innocent pending trial, and innocence can only
         raise an inference of innocence, not of guilt.
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28   Id. at 874 (emphasis added).
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1              Notwithstanding how some might want to interpret the

2    Supreme Court’s language and holding in Bell, the presumption of

3    innocence remains more than a mere procedural formality; it

4    stands as one of the fundamental precepts of the American

5    criminal justice system.     From Scott and other cases, it is clear

6    that the Ninth Circuit has not read Bell to render the

7    presumption of innocence meaningless until the first day of

8    trial.   See id.; Jonah R. v. Carmona, 446 F.3d 1000, 1010 (9th

9    Cir. 2006) (“[I]f a person is detained in a pretrial setting,

10   while enjoying the presumption of innocence, it is only fair that

11   the government give him credit for that time at the end of his

12   sentence.” (internal quotation marks omitted) (alteration in

13   original)); United States v. Ripinsky, 20 F.3d 359, 365 (9th Cir.

14   1994) (“In asking us to authorize the pretrial restraint of

15   substitute assets, the government asks us to grant them an even

16   more powerful weapon, a weapon available against the accused,

17   indeed, the presumed innocent.”); Seattle Times Co. v. U.S. Dist.

18   Court for W. Dist. of Wash., 845 F.2d 1513, 1517 (9th Cir. 1988)

19   (“The decision to hold a person presumed innocent of any crime

20   without bail is one of major importance to the administration of
21   justice.”);   United States v. Motamedi, 767 F.2d 1403, 1407 (9th

22   Cir. 1985) (“[W]e are not unmindful of the presumption of

23   innocence and its corollary that the right to bail should be

24   denied only for the strongest of reasons.”); accord United States

25   v. Mitchell, 652 F.3d 387, 422 (3d Cir. 2011) (“The Government’s

26   interests in this case are limited by the fact that, unlike
27   convicts, arrestees and pretrial detainees are entitled to a

28   presumption of innocence.”); 18 U.S.C. § 3142(j) (Bail Reform
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1    Act) (“Nothing in this section shall be construed as modifying or

2    limiting the presumption of innocence.”).

3               The government relies heavily on United States v.

4    Koskotas, 888 F.2d 254 (2d Cir. 1989).       In Koskotas, the district

5    court granted defendant’s motion to dismiss the indictment due to

6    a violation of his Sixth Amendment right to a speedy trial.       888

7    F.2d at 256.     The district court found actual prejudice based on

8    the loss of records that may have had “potentially favorable

9    evidence,” reasoning that “‘[t]he presumption of innocence

10   requires that [the court] credit the possibility that there was

11   exculpatory evidence contained among the destroyed documents.’”

12   Id. at 256-57.     The Second Circuit reversed, explaining that it

13   was inappropriate for the court “to presume that the lost

14   material included exculpatory evidence favorable to the

15   defendant,” especially in light of the investigator’s statements

16   that he was not aware of any exculpatory evidence in the

17   destroyed files and the fact that most of the documents in the

18   destroyed files were copies of documents that were not destroyed.

19   Id. at 257.      Relying on Bell, the Second Circuit concluded that

20   the presumption of innocence does not “apply to a motion of this
21   nature.”   Id.

22              As a Second Circuit case, Koskotas is not binding upon

23   this court, and in the twenty-five years since it was decided it

24   has not once been cited, let alone followed, by the Ninth

25   Circuit.   Aside from Koskotas, the government has not cited and

26   the court is not aware of any other decision in which a court
27   concluded that the presumption of innocence is irrelevant on a

28   motion to dismiss an indictment due to a violation of the Sixth
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1    Amendment right to a speedy trial.       Moreover, in Koskotas, the

2    district court assumed, without any supporting evidence, that the

3    destroyed files might contain exculpatory evidence based

4    exclusively on the presumption of innocence.

5               Here, however, the court did not simply presume that

6    defendant was innocent and then speculate that the Comcast phone

7    records would contain exculpatory evidence.        Instead, defendant

8    put forth non-speculative evidence showing how and why the

9    destroyed Comcast phone records would more than likely contain

10   evidence to support his defense.      He showed that Padilla ordered

11   the drugs from the (707)-line and that he did not receive a call

12   from the (707)-line on his cell phone.       Of course, defendant

13   could not identify the number Padilla called, and his inability

14   to do so is the heart of his claim of actual prejudice.3           It was

15   only after defendant put forth this non-speculative evidence that

16   the court presumed defendant was innocent, i.e., presumed that

17   the number Padilla called to order methamphetamine would not be

18   linked to defendant.

19              Instead of presuming the defendant to be innocent, the

20   government argues that, based on the incriminating evidence it
21   allegedly has against defendant, he must be guilty and the

22   Comcast phone records would only incriminate him further.           In

23   assessing actual prejudice, however, a court surely cannot find

24   the defendant guilty based on the evidence against him and then

25   conclude that the destroyed evidence would only incriminate him

26        3
               Defendant cannot be expected to put forth evidence
27   identifying the actual number or person Padilla called. If he
     could do so, any prejudice from the loss of the Comcast records
28   would be remedied.
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1    further.   For the court to do so would preclude a defendant from

2    ever claiming actual prejudice based on destroyed evidence if the

3    government has some incriminating evidence against him.            When a

4    defendant has put forth a non-speculative theory about how

5    destroyed evidence will prevent him from pursuing his defense, it

6    cannot be error for the court to view the unknown contents of the

7    destroyed evidence through the lens of the presumption (or at

8    least an assumption) of innocence.

9               Moreover, even if the court cannot consider the

10   presumption of innocence, the court would still find that

11   defendant established actual prejudice.        As discussed in the

12   April 11, 2014 Order, defendant successfully showed that the

13   Comcast phone records are highly relevant to his defense and that

14   he did not receive a phone call from the (707)-line on his cell

15   phone.   He also put forth sufficient evidence to show that

16   Padilla had performed repairs to his vehicle, which corroborates

17   his explanation that he was at the repair shop only to discuss

18   those repairs.    Defendant has thus shown through non-speculative

19   evidence that Padilla contacted someone other than defendant to

20   purchase the methamphetamine and that he did not go to the repair
21   shop on August 18 to deliver the methamphetamine, but was simply

22   in the wrong place at the wrong time.       This showing of actual

23   prejudice does not rely on “pure conjecture” or “[g]eneralized

24   assertions of the loss of memory, witnesses, or evidence.”

25   United States v. Manning, 56 F.3d 1188, 1194 (9th Cir. 1995).

26   Defendant’s inability to obtain the Comcast phone records and
27   identify the number and individual Padilla called to order the

28   methamphetamine greatly impairs his defense.        When weighed
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1    alongside the length of the delay and the government’s negligence

2    in causing the delay, defendant has made a sufficient showing of

3    actual prejudice to mandate dismissal of the Indictment.

4    Accordingly, the court will deny the government’s motion for

5    reconsideration.

6               IT IS THEREFORE ORDERED that the government’s motion

7    for reconsideration be, and the same hereby is, DENIED.

8    Dated:   June 5, 2014

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